                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                Charlottesville Division

   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, TYLER MAGILL, APRIL
   MUNIZ, HANNAH PEARCE, MARCUS
   MARTIN, NATALIE ROMERO, CHELSEA
   ALVARADO, and JOHN DOE,

                                Plaintiffs,
   V.

   JASON KESSLER, RICHARD SPENCER,
   CHRISTOPHER CANTWELL, JAMES
   ALEX FIELDS, JR., VANGUARD
   AMERICA, ANDREW ANGLIN,                               Civil Action No. 3:17-cv-00072-NKM
   MOONBASE HOLDINGS, LLC, ROBERT
   "AZZMADOR" RAY, NATHAN DAMIGO,
   ELLIOT KLINE a/k/a/ ELI MOSLEY,
   IDENTITY EVROPA, MATTHEW
   HEIMBACH, MATTHEW PARROTT a/k/a
   DAVID MATTHEW PARROTT,
   TRADITIONALIST WORKER PARTY,
   MICHAEL HILL, MICHAEL TUBBS,
   LEAGUE OF THE SOUTH, JEFF SCHOEP,
   NATIONAL SOCIALIST MOVEMENT,
   NATIONALIST FRONT, AUGUSTUS SOL
   INVICTUS, FRATERNAL ORDER OF THE
   ALT-KNIGHTS, MICHAEL "ENOCH"
   PEINOVICH, LOYAL WHITE KNIGHTS OF
   THE KU KLUX KLAN, and EAST COAST
   KNIGHTS OF THE KU KLUX KLAN a/k/a
   EAST COAST KNIGHTS OF THE TRUE
   INVISIBLE EMPIRE,

                                Defendants.


        PLAINTIFFS’ MOTION FOR ENTRY OF DEFAULT AGAINST DEFENDANTS
                ANDREW ANGLIN AND MOONBASE HOLDINGS, LLC

          Plaintiffs respectfully request that this Court enter default against Defendants Andrew

   Anglin and Moonbase Holdings, LLC (collectively, “Defendants”) pursuant to Federal Rule of



                                                1
Case 3:17-cv-00072-NKM-JCH Document 263 Filed 03/14/18 Page 1 of 7 Pageid#: 1758
      Civil Procedure 55(a) on the ground that Defendants have failed to plead or otherwise defend

      within the time prescribed by the Federal Rules of Civil Procedure (“FRCP”).

               Plaintiffs effected service on Defendants on February 1, 2018 through the Secretary of

  the Commonwealth of Virginia pursuant to Va. Code. § 8.01-329. (ECF 217, 219.)

               Plaintiffs put forth considerable effort in attempting to personally serve Defendants.

      Defendant Andrew Anglin is listed as the registered agent for Defendant Moonbase Holdings,

      LLC, a for-profit, limited-liability Ohio corporation. Exhibit 1. Plaintiffs’ process servers

      made multiple unsuccessful attempts to serve Defendants at the registered agent address listed

      as 6827 North High Street, Suite 121, Worthington, OH 43085 on October 10, and on

      December 20, 2017. Exhibits 2, 3. Plaintiffs’ private investigators also pinpointed over ten

      other addresses in Ohio with possible connections to Defendant Andrew Anglin, where process

      servers attempted to personally serve Defendants in November and December 2017. Exhibits

      2-4. 1

               Pursuant to FRCP 4(e)(1), service may be made by following state law for serving a

  summons in the state where the district court is located. In Virginia, service may be effected

  through the Secretary of the Commonwealth as the statutory agent of the party to be served. Va.

  Code. § 8.01-329. The party seeking service must file an affidavit stating either (i) that the party

  to be served is a nonresident or (ii) that, after exercising due diligence, the party seeking service

  has been unable to locate the person to be served. Va. Code. § 8.01-329(B). The party seeking

  service must also identify and provide the Secretary of the Commonwealth the “last known post-

  office address” of the party to be served. Va. Code. § 8.01-329(C)(2).



  1
   Plaintiffs additionally made service on Defendants through the Ohio Secretary of State, made
  effective on January 16, 2018. Exhibit 5.


                                                     2
Case 3:17-cv-00072-NKM-JCH Document 263 Filed 03/14/18 Page 2 of 7 Pageid#: 1759
             After exercising due diligence in attempting to locate Defendants without success,

      Plaintiffs followed the procedure required to effect service through the Secretary of the

      Commonwealth under Va. Code. § 8.01-329.          Specifically, Plaintiffs filed two separate

      affidavits with the Secretary of the Commonwealth indicating that (i) Defendant Andrew

      Anglin is a non-resident, and that (ii) Defendant Moonbase Holdings, LLC is a foreign

      corporation and Va. Code. § 8.01-328.1(A) applies. Va. Code. § 8.01-329(B)(i). (ECF 217,

      219.) In accordance with Va. Code. § 8.01-329(C)(2), Plaintiffs determined Defendants’ “last

      known post-office address” to be 6827 North High Street, Suite 121, Worthington, OH 43085

      based on Moonbase Holdings, LLC’s registered agent address. Exhibit 1.

            On February 1, 2018, the Secretary of the Commonwealth filed the required Certificate of

  Compliance with the Court for Defendants, thereby effecting service. 2 (ECF 217, 219.) Based

  on the service date of February 1, 2018, Defendants were required to respond by February 26,

  2018, twenty-one days after service was effected. Va. Code. § 8.01-329(C)(3) (“The time for the

  person to be served to respond to process sent by the Secretary shall run from the date when the

  certificate of compliance is filed in the office of the clerk of the court in which the action is

  pending.”).




  2
    After service was completed, Plaintiffs learned that an authorized representative of Moonbase
  Holdings, LLC, Karen Zappitelli, had changed the registered agent address for Moonbase
  Holdings, LLC to PO Box 208, Worthington, OH 43085, with the registered agent still listed as
  Defendant Andrew Anglin. Exhibits 6, 7. Though Defendants had already been served, in the
  interest of being as thorough as possible, Plaintiffs (i) served Defendants at PO Box 208 through
  the Ohio Secretary of State on February 22, 2018, Exhibit 8, and (ii) served Defendants through
  the Secretary of the Commonwealth of Virginia listing PO Box 208 as the “last known post-
  office address” on February 28, 2018. (ECF 246, 247.) As a courtesy, Plaintiffs also mailed
  Karen Zappitelli, who appears to be Defendants’ accountant, a copy of the summonses and First
  Amended Complaint. Exhibit 9.


                                                   3
Case 3:17-cv-00072-NKM-JCH Document 263 Filed 03/14/18 Page 3 of 7 Pageid#: 1760
          As of the date of this motion, over three weeks have elapsed since the February 26, 2018

   deadline, and Defendants still have not filed an answer, motion, or otherwise appeared to defend

   against this action as required by FRCP 12(a)(1)(A). Accordingly, Plaintiffs respectfully ask

   the Court to grant this Motion to Enter Default against Defendants for failure to plead or

   otherwise defend under FRCP 55(a).




         Dated: March 14, 2018                        Respectfully submitted,

                                                      s/ Robert T. Cahill
                                                      Robert T. Cahill (VSB 38562)
                                                      COOLEY LLP
                                                      11951 Freedom Drive, 14th Floor
                                                      Reston, VA 20190-5656
                                                      Telephone: (703) 456-8000
                                                      Fax: (703) 456-8100
                                                      rcahill@cooley.com

                                                      Of Counsel:

                                                      Roberta A. Kaplan (pro hac vice)
                                                      Julie E. Fink (pro hac vice)
                                                      Christopher B. Greene (pro hac vice)
                                                      Seguin L. Strohmeier (pro hac vice)
                                                      Joshua A. Matz (pro hac vice)
                                                      KAPLAN & COMPANY, LLP
                                                      350 Fifth Avenue, Suite 7110
                                                      New York, NY 10118
                                                      Telephone: (212) 763-0883
                                                      rkaplan@kaplanandcompany.com
                                                      jfink@kaplanandcompany.com
                                                      cgreene@kaplanandcompany.com
                                                      sstrohmeier@kaplanandcompany.com
                                                      jmatz@kaplanandcompany.com

                                                      Karen L. Dunn (pro hac vice)
                                                      William A. Isaacson (pro hac vice)


                                                 4
Case 3:17-cv-00072-NKM-JCH Document 263 Filed 03/14/18 Page 4 of 7 Pageid#: 1761
                                           BOIES SCHILLER FLEXNER LLP
                                           1401 New York Ave, NW
                                           Washington, DC 20005
                                           Telephone: (202) 237-2727
                                           Fax: (202) 237-6131
                                           kdunn@bsfllp.com
                                           wisaacson@bsfllp.com

                                           Philip M. Bowman (pro hac vice)
                                           Yotam Barkai (pro hac vice)
                                           Joshua J. Libling (pro hac vice)
                                           BOIES SCHILLER FLEXNER LLP
                                           575 Lexington Ave.
                                           New York, NY 10022
                                           Telephone: (212) 446-2300
                                           Fax: (212) 446-2350
                                           pbowman@bsfllp.com
                                           ybarkai@bsfllp.com
                                           jlibling@bsfllp.com

                                           Alan Levine (pro hac vice)
                                           COOLEY LLP
                                           1114 Avenue of the Americas, 46th Floor
                                           New York, NY 10036
                                           Telephone: (212) 479-6260
                                           Fax: (212) 479-6275
                                           alevine@cooley.com

                                           David E. Mills (pro hac vice)
                                           COOLEY LLP
                                           1299 Pennsylvania Avenue, NW
                                           Suite 700
                                           Washington, DC 20004
                                           Telephone: (202) 842-7800
                                           Fax: (202) 842-7899
                                           dmills@cooley.com

                                           Counsel for Plaintiffs




                                       5
Case 3:17-cv-00072-NKM-JCH Document 263 Filed 03/14/18 Page 5 of 7 Pageid#: 1762
                                    CERTIFICATE OF SERVICE

         I hereby certify that on March 14, 2018, I filed the foregoing with the Clerk of Court
  through the CM/ECF system, which will send a notice of electronic filing to:

  Justin Saunders Gravatt
  David L. Hauck
  David L. Campbell
  Duane, Hauck, Davis & Gravatt, P.C.
  100 West Franklin Street, Suite 100
  Richmond, VA 23220
  jgravatt@dhdglaw.com
  dhauck@dhdglaw.com
  dcampbell@dhdglaw.com

  Counsel for Defendant James A. Fields, Jr.

  Bryan Jones
  106 W. South St., Suite 211
  Charlottesville, VA 22902
  bryan@bjoneslegal.com

  Counsel for Defendants Michael Hill, Michael Tubbs, and League of the South

  Elmer Woodard
  5661 US Hwy 29
  Blairs, VA 24527
  isuecrooks@comcast.net

  James E. Kolenich
  Kolenich Law Office
  9435 Waterstone Blvd. #140
  Cincinnati, OH 45249
  jek318@gmail.com

  Counsel for Defendants Jeff Schoep, Nationalist Front, National Socialist Movement, Matthew Parrott,
  Matthew Heimbach, Robert Ray, Traditionalist Worker Party, Elliot Kline, Jason Kessler, Vanguard
  America, Nathan Damigo, Identity Europa, Inc. (Identity Evropa), and Christopher Cantwell

  Michael Peinovich
  a/k/a Michael “Enoch” Peinovich
  PO Box 1069
  Hopewell Junction, NY 12533
  mpeinovich@gmail.com

  Pro Se Defendant




                                                    6
Case 3:17-cv-00072-NKM-JCH Document 263 Filed 03/14/18 Page 6 of 7 Pageid#: 1763
          I further hereby certify that on March 14, 2018, I also served the following non-ECF
  participants, via U.S. mail, First Class and postage prepaid, addressed as follows:

  Loyal White Knights of the Ku Klux Klan             Andrew Anglin
  a/k/a Loyal White Knights Church of                 P.O. Box 208
  the Invisible Empire, Inc.                          Worthington, OH 43085
  c/o Chris and Amanda Barker
  P.O. Box 54                                         East Coast Knights of the Ku Klux Klan
  Pelham, NC 27311                                    a/k/a East Coast Knights of the
                                                      True Invisible Empire
  Richard Spencer                                     26 South Pine St.
  1001-A King Street                                  Red Lion, PA 17356
  Alexandria, VA 22314
  -and-                                               Fraternal Order of the Alt-Knights
  P.O. Box 1676                                       c/o Kyle Chapman
  Whitefish, MT 59937                                 52 Lycett Circle
                                                      Daly City, CA 94015
  Moonbase Holdings, LLC
  c/o Andrew Anglin                                   Augustus Sol Invictus
  P.O. Box 208                                        9823 4th Avenue
  Worthington, OH 43085                               Orlando, FL 32824




                                                  s/ Robert T. Cahill
                                                  Robert T. Cahill (VSB 38562)
                                                  COOLEY LLP
                                                  11951 Freedom Drive, 14th Floor
                                                  Reston, VA 20190-5656
                                                  Telephone: (703) 456-8000
                                                  Fax: (703) 456-8100
                                                  Email: rcahill@cooley.com

                                                  Counsel for Plaintiffs




                                                  7
Case 3:17-cv-00072-NKM-JCH Document 263 Filed 03/14/18 Page 7 of 7 Pageid#: 1764
